        Case 2:24-cv-03161-NJC-LGD Document 4 Filed 04/29/24 Page 1 of 2 PageID #: 13

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                 Eastern District of New York

                     Francis Discolo,                          )
    Individually, and on behalf of all others similarly        )
                         situated,                             )
                                                               )
                            Plaintiff(s)                       )
                                                               )
                                V.                                     Civil Action No. 2:24-cv-03161-NJC-LGD
                                                               )
                    United Security, Inc.,                     )
                                                               )
                                                               )
                                                               )
                           Defendant(s)                        )

                                                SUMMONS IN A CIVIL ACTION
  .           ,                   United Security, Inc.
To. (Defendants name and address) 4295 Arthur Kill Road ,
                                  Staten Island, NY, 10309




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Abdul Ha~s~n Law Group, PLLC
                                215-28 H1lls1de Avenue
                                Queens Village, NY 11427




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                         BRENNA B. MAHONEY
                                                                         CLERK OF COURT


Date:            4/29/2024
                                                                                   Signature o f , ~
          Case 2:24-cv-03161-NJC-LGD Document 4 Filed 04/29/24 Page 2 of 2 PageID #: 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-03161-NJC-LGD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specify):




           My fees are$                            for travel and $                  for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address

 Additional information regarding attempted service, etc:
